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                         UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                            SAN FRANCISCO DIVISION


 IN RE: ROUNDUP PRODUCTS LIABILITY         MDL No. 2741
 LITIGATION
 _________________________________________ Case No. 3:16-md-02741-VC

 This document relates to:                           OPPOSITION TO PLAINTIFFS’ CO-LEAD
                                                     COUNSEL’S MOTION TO SUPPLEMENT
 ALL CASES                                           PRE-TRIAL ORDER 12: COMMON
                                                     BENEFIT FUND ORDER TO ESTABLISH
                                                     AN 8% HOLD-BACK PERCENTAGE

                                                     Hearing Date: March 3, 2021
                                                     Time 1:00 P.M.




       The undersigned counsel (hereinafter “Objectors”) represent a small number of plaintiffs

that had their cases improperly removed to the MDL and a significant number of plaintiffs with

cases filed in Missouri state-court, who have not participated in the MDL in any fashion, submit
   OPPOSITION TO PLAINTIFFS’ CO-LEAD COUNSEL’S MOTION TO SUPPLEMENT PRE-TRIAL ORDER 12:
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this response to oppose the rate of the hold-back in Co-Lead Counsel’s motion. The majority of

the Objector’s lawsuits have been and continue to be litigated independently of this MDL. Their

cases have not received MDL work product from MDL Leadership. Objectors have not signed any

agreement subjecting them to the jurisdiction of this Court or its orders and have either filed or

intend to file motions to remand for the cases removed into the MDL. Moreover, the Objectors

have not signed any participation agreement.

       PTO 12 specifies who must contribute to the common-benefit fund. It provides that each

“Participating Case . . . be assessed for common benefit work and costs on a percentage of the

gross monetary recovery.” Dkt. 161 ¶ 5 (emphasis added). “Participating Cases” encompass “all

cases pending, . . . filed in, transferred to, or removed to” the MDL. Id. ¶ 4 (emphasis added). The

Order declined to set an assessment percentage, however, stating that the percentage “will be

determined in a subsequent order . . . based on the specific circumstances of the litigation.” Id. As

it stands, PTO 12 contains no provision for assessing cases that do not qualify as a Participating

Case. However, Co-Lead Counsel proclaims in its motion that the “proposed holdback extends to

the efforts of the MDL Leadership, other attorneys who performed substantive work in the MDL

or state cases that benefitted and continue to benefit all plaintiffs in actions within and outside

the MDL.” Dkt. 12394 at 13-14 (emphasis added).

       Subsequently, on January 26, 2021, this Court entered an Order setting a deadline for and

asking objectors to address four questions. First, “[i]s it necessary to issue an order requiring that

a percentage of each recovering plaintiff’s attorney’s fees be held back for potential distribution

to co-lead counsel?” Second, “[c]an the Court meaningfully evaluate the need for a hold-back

without understanding how much of a premium co-lead has already received on their settlements

compared to the typical settlement?” Third, “[i]f a hold-back is warranted, should the Court
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consider anew the universe of cases that should be subject to a hold-back?” Fourth, “[i]f a hold-

back is truly warranted, why shouldn’t it be much lower than the 8% requested by co-lead

counsel?” Dkt. 12463.

          Whether a common benefit hold-back is warranted in this litigation cannot be principally

answered until the Court understands how much, if any, of a premium Co-Lead Counsel has

already received on their settlements. At a minimum, a report from the Special Master on the extent

to which Co-Lead Counsel has already received a premium for its settlements based on their

investment in the litigation would be instructive. Moreover, this Court should not consider

expanding the universe of cases subject to a hold-back to those cases that are not subject to this

Court’s jurisdiction and who have not used federal discovery material. Barbara J. Rothstein &

Catherine R. Borden, Managing Multidistrict Litigation in Products Liability Cases 14 (Fed. Jud.

Ctr. 2011) (emphasis added); Coordinating Multijurisdiction Litigation 7 (Fed. Jud. Ctr. 2013)

(same).

          “The [common benefit] doctrine rests on the perception that persons who obtain the benefit

of a lawsuit without contributing to its cost are unjustly enriched at the successful litigant’s

expense.” Geier v. Sundquist, 372 F.3d 784, 790 (6th Cir. 2004) (citing Boeing Co. v. Van Gemert,

444 U.S. 472, 478, 100 S.Ct. 745, 62 L.Ed.2d 676 (1980)). Here, the Objectors largely represent

clients in state court, independently from the MDL, and without MDL support. There are, however,

instances where Monsanto improperly removed Objectors’ cases to federal court and ultimately

transferred into the MDL. In sum, the Objectors have prosecuted their own cases, without the

assistance of MDL Leadership, through the development of experts and discovery and incurring

their own risks and expenses. The Objectors have not been “unjustly enriched” at the Co-Lead



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Counsel’s expense. While noteworthy, Co-Lead Counsel’s attorney work product has been of

limited value to the Objector’s claims.

       In closing, the Objectors herein do not oppose the imposition of a common benefit fund

and assessment in principle. Instead, the Objectors oppose the one-size-fits-all 8% rate proposed

by Co-Lead Counsel. To the extent this Court opts to amend PTO 12 to include non-participating

state court cases, the hold-back percentage should be reduced to a more proportional percentage

where the non-participating state court cases have received little or no benefit from the efforts of

MDL leadership.

DATED: February 4, 2021
                                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of February, 2021, I electronically filed the foregoing

with the Clerk of the United States District Court for the Northern Division of California via the

Court’s CM//ECF Filing System, which shall send electronic notification to counsel of record.




                                                     /s/ Rhon E. Jones
                                                     Rhon E. Jones




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